        Case 4:19-cv-01573 Document 22 Filed on 09/04/19 in TXSD Page 1 of 1
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                September 04, 2019
                       IN THE UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 DATHAN L. SAUER,                              §
                                               §
          Plaintiff,                           §
                                               §
 v.                                            §          Case No. 4:19-cv-01573
                                               §
 SRA ASSOCIATES,                               §
                                               §
          Defendant.                           §


                       ORDER OF DISMISSAL WITH PREJUDICE

         Based on the stipulation of the parties, Plaintiff, Dathan L. Sauer, and Defendant,

Ceteris Portfolio Services, LLC d/b/a SRA Associates, filed herein pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii),

         IT IS HEREBY ORDERED ADJUDGED AND DECREED that the above-entitled

action is dismissed with prejudice and with each party to bear its own costs and attorneys’

fees.



Dated: September 4, 2019
                                           JUDGE NANCY F. ATLAS
                                           UNITED STATES DISTRICT COURT
                                                       NAN Y F. ATLAS
                                              SENIOR UNI   STATES DISTRICT JUDGE




                                              1
